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                                                                  EXHIBIT 17


                                                                              GMR Holdings of NH LLC
                                                                                702 Riverwood Drive
                                                                                Pembroke, NH 03375

GMR HOLDINGS OF NH LLC




                                          MEMORANDUM
           TO:           Town of Lincoln Planning Board
           FR:           Peter Cooke
                         Project Manager
                         GMR Holdings of NH LLC

           DATE:         August 15, 2020
           RE:           Summary of Alternative Site Analysis related to Proposed
                         Communications Pole at 749 US Route 3, Lincoln NH



           GMR Holdings of NH LLC was asked by our customer, AT&T/FirstNet, to provide
           sites for their consideration within their Franconia Search Ring parameters in
           Lincoln NH. Given existing network coverage to the north and south, the coverage
           objective was essentially the Route 93/Route 3 corridor in the northern portion of
           the town of Lincoln stretching towards the border of the Town of Franconia.

           We were advised by AT&T that previously considered sites in the area of the Whales
           Tale amusement park had been considered by AT&T radio frequency engineers and
           had been rejected as too far from the coverage area and too close to existing
           network coverage.

           The prinicpals of our company, including me, and our site acquisition consultant
           reviewed the area thoroughly and, as always, take into account all factors for
           feasibility including not only customer coverage limitations, such as topography and
           ground elevation relative to the coverage objective, but available access and utilities,
           constructability, and local zoning requirements before contacting potential
           landowners.

           Much of the search area consists of US National Forest lands and the State of New
           Hampshire. These properties were eliminated from consideration as not only are
           generally unavailable for lease for private use but they are also not accessible from a
           highway ROW per state and federal high speed highway regulations and alternative
           access for use and utilities is not feasible.

           Five private properties were identified within the search area and all were
           considered. Two of the properties were under the control of the Indian Head Resort
           (IHR) ownership and consisted of the main resort property on the east side of US
           Route 3 and the "43 Tomahawk Loop" property on the west side.




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   405-001000-00-00000 - NEW HAMPSHIRE STATE OF - DNCR
   US RTE 3




 Our site Acquisition consultant, Mr. Nate Drouin, contacted and met with Mr. Peter
 Spanos of the IHR ownership group during the month of January 2020. After
 discussion and consideration, Mr. Spanos indicated that ownership had no interest
 in making available any IHR other than property owned by them off Tripoli Road in
 Woodstock. This parcel was approximately 6 miles to the south of the proposed
 coverage search area and near existing towers so was not pursued.

 Of the three remaining parcels, one is the subject parcel, the second an existing
 residential home and the third a motel property.




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Although all three properties are located within the allowed tower district (GU), the
subject property at 749 US Route 3 provided an existing underlying
commercial/industr ial use, past tower use on the property, better elevation to limit
the required height of the proposed tower, and a better opportunity to screen much
of the proposed tower installation from surrounding properties.




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